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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                   Plaintiff,                       )
                                                    )
           v.                                       )       Case No. 4:18 CR 975 ERW
                                                    )
DUSTIN BOONE, et al.,                               )
                                                    )
                   Defendants.                      )

                                      MEMORANDUM AND ORDER

           This matter comes before the Court on Non-Party Luther Hall’s Motion to obtain

discovery materials provided pursuant to protective orders [560].

           Hall is the plaintiff in a pending civil lawsuit 1 filed against Defendants Dustin Boone,

Randy Hays, Bailey Colletta, Christopher Myers, and Steven Korte. In his motion, he states he

is seeking damages for the same acts that formed the basis of the criminal charges against

Defendants. Hall asserts the United States provided discovery to Defendants pursuant to

protective orders that prohibited Defendants from using the material for any purpose other than

their defense of the criminal charges against them. Hall maintains the protective order prevents

Defendants from sharing this discovery with the lawyers defending them in Hall’s civil lawsuit,

which in turn, prevents Hall from obtaining this discovery through the Defendants’ civil defense

lawyers, even though this discovery is in the Defendants’ possession or control. Hall claims the

investigation conducted by the United States is relevant to his civil lawsuit.

           Hall requests all evidence/materials produced to Defendants by the United States in the

criminal case that was not admitted into evidence at trial, to include but not necessarily be



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    Hall v. Boone, et al., No. 4:19-CV-02579-JCH.

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limited to reports, interviews, witness statements, photographs, audio and/or video recordings, or

other evidence relating and/or pertaining to Hall’s arrest and assault be produced to him for use

in his civil lawsuit against the same Defendants.

       In response, the government agrees to provide all discovery material previously provided

to defense counsel to counsel for Luther Hall—with the exception of material obtained through

the grand jury under Federal Rule of Criminal Procedure 6. The government requests counsel for

Luther Hall be subject to the same conditions of the Protective Order entered in this case.

       In his reply, Hall argues the grand jury material provided to Defendants in their criminal

case should be provided to Hall in his civil case against them subject to an appropriate protective

order. 2 Hall indicates he seeks the transcripts of all witnesses who testified before the grand

jury, as well as documents that were obtained pursuant to grand jury subpoenas, to include but

not necessarily be limited to prior complaints against the defendants and video recordings. He

contends his need for disclosure is greater than the need for continued secrecy and argues the

materials are necessary to avoid a possible injustice in the civil proceeding.

       The need to preserve the secrecy of grand jury proceedings is well acknowledged and is

proscribed by the Federal Rules of Criminal Procedure. See generally, Fed. R. Crim. P. 6(e)(2);

Douglas Oil Co. of Calif. v. Petrol Stops Nw., 441 U.S. 211, 218–19, 99 S. Ct. 1667, 60 L.Ed.2d

156 (1979); In re Grand Jury Proceedings Relative to Perl, 838 F.2d 304, 306 (8th Cir. 1988).

The policy of secrecy surrounding grand jury proceedings, however, is not absolute. In re Grand

Jury Proc. Relative to Perl, 838 F.2d at 306. Federal Rule of Criminal Procedure 6(e)(3)(C)(i)



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  Mr. Hall indicates he has no objection to the government’s request that any disclosure be
subject to the same protective order issued in this case, provided that the information produced to
him can be provided to or used by the attorneys representing the Defendants in the civil lawsuit,
subject to the same protective order, so Hall can comply with his discovery obligations in the
civil case.
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has recognized that in some situations justice may demand that discrete portions of grand jury

proceedings be made available for use in subsequent judicial proceedings. Douglas Oil, 441

U.S. at 219–20, 99 S. Ct. at 1672–73.

       It is firmly established that a person seeking Rule 6(e)(3)(C)(i) disclosure carries the

burden of making a “strong showing of particularized need for grand jury materials.”

In re Grand Jury Proc. Relative to Perl, 838 F.2d at 306. A party demonstrates particularized

need where:

       [1] the material they seek is needed to avoid a possible injustice in another judicial
       proceeding, . . . [2] the need for disclosure is greater than the need for continued secrecy,
       and . . . [3] their request is structured to cover only material so needed.

Douglas Oil, 441 U.S. at 222, 99 S.Ct. at 1674.

       In applying the three-prong test set forth in Douglas Oil, the Court examines the first

factor—whether disclosure of the grand jury materials is necessary to avoid injustice in the civil

lawsuit brought by Mr. Hall. Hall contends the grand jury materials are necessary to avoid a

possible injustice in his civil proceeding by allowing Defendants to avoid civil liability for their

misconduct due to the length of time that has passed since Hall’s arrest and beating. Hall notes a

Rule 16 Order was not entered in the civil case until September 14, 2021, preventing Hall from

taking depositions. Hall argues the grand jury proceedings were conducted in 2018 when the

witnesses’ memories were better. The Court finds Hall’s argument regarding the passage of time

to weigh only slightly in favor of disclosure. Although four years have elapsed since the relevant

events, witnesses recently testified at the two criminal trials in this matter.

       The Court will now address the second factor, whether the need for disclosure of the

grand jury materials is greater than the need for continued secrecy. Hall argues the materials

requested have already been provided to Defendants and their criminal defense attorneys,



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making the need for secrecy less relevant. Hall also contends because the grand jury concluded

its proceedings several years ago and the criminal proceeding has publicized details of the case,

the need for secrecy is reduced. Hall alleges his need for the grand jury materials is compelling

as they will aid Hall in the preparation of his civil case against Defendants, save him time and

money, and facilitate discovery.

       The interests in grand jury secrecy are reduced, although not eliminated, when the grand

jury has ended its investigation. In re Grand Jury Proc. Relative to Perl, 838 F.2d 304, 307 (8th

Cir. 1988). ‘“[A]fter the grand jury’s functions are ended, disclosure is wholly proper where the

ends of justice require it.”’ Id. (quoting United States v. Socony–Vacuum Oil Co., 310 U.S. 150,

234, 60 S. Ct. 811, 849, 84 L. Ed. 1129 (1940)). The Court in Douglas Oil explained why a

compelling need for grand jury materials must be established even under circumstances where

the grand jury proceedings are concluded. The Douglas Oil court stated:

       [I]n considering the effects of disclosure on grand jury proceedings, the courts must
       consider not only the immediate effects upon a particular grand jury, but also the possible
       effect upon the functioning of future grand juries. Persons called upon to testify will
       consider the likelihood that their testimony may one day be disclosed to outside parties.
       Fear of future retribution or social stigma may act as powerful deterrents to those who
       would come forward and aid the grand jury in the performance of its duties. Concern as
       to the future consequences of frank and full testimony is heightened where the witness is
       an employee of a company under investigation. Thus, the interests in grand jury secrecy,
       although reduced, are not eliminated merely because the grand jury has ended its
       activities.13

Douglas Oil, 441 U.S. at 222, 99 S. Ct. at 1674.

       Here, the Court does not find the need for disclosure is greater than the need for

continued secrecy. Although the need for secrecy has been lessened as the grand jury has

completed its work and the matter has been twice tried, the interest in secrecy that remains

exceeds Hall’s stated needs for the materials. Hall seeks the transcripts of all witnesses who

testified before the grand jury, as well as documents that were obtained. However, witness

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transcripts are entitled to the greatest protection under Rule 6(e). In re Grand Jury Investigation,

55 F.3d 350, 354 (8th Cir. 1995). A private party seeking to obtain grand jury transcripts must

demonstrate that without the transcript a defense would be greatly prejudiced. Douglas Oil, 441

U.S. 211, 221, 99 S. Ct. 1667, 1674, 60 L. Ed. 2d 156 (1979). Hall does not meet his burden to

establish he would be greatly prejudiced. See McAninch v. Wintermute, 491 F.3d 759, 767 (8th

Cir. 2007) (determining the plaintiff failed to make any showing of a particularized need for the

requested materials because he admitted the “exact same testimony” could probably be obtained

from the witness through deposition). Hall contends his need is compelling as Defendants have

been provided the materials, giving them an unfair advantage in the civil suit. The Court notes,

however, that the terms of the protective order here only permitted disclosure of the grand jury

materials to Defendants in the presence of their attorneys, and bars Defendants from disclosing

these materials to the attorneys defending them in their civil cases.

       Finally, the Court will consider “the extent to which the request was limited to that

material directly pertinent to the need for disclosure.” Douglas Oil, supra, 441 U.S. at 224, 99 S.

Ct. at 1675. Here, Hall does not tailor his request, but instead asserts general relevance and

comprehensively seeks “any material provided to the Defendants by the government, which Hall

understands to be the transcripts of all witnesses who testified before the grand jury, as well as

documents that were obtained pursuant to grand jury subpoenas, to include but not necessarily be

limited to prior complaints against the defendants and video recordings.” ECF No. 563 at 2.

       After consideration of the three-prong test set forth in Douglas Oil, the Court finds Hall

does not establish the required particularized need warranting disclosure. However, excepting

material obtained through the grand jury under Federal Rule of Criminal Procedure 6, counsel

for Luther Hall is to be provided discovery material previously provided to Defendants’ defense



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counsel for use in his civil lawsuit, subject to the same conditions of the protective order entered

in this case. The information produced to Hall may be provided to or used by the attorneys

representing the Defendants in the civil lawsuit, subject to the same protective order, so that Hall

can comply with his discovery obligations in the civil case.

       Accordingly,

               IT IS HEREBY ORDERED Luther Hall’s Motion to obtain discovery materials

provided pursuant to protective orders [560] is GRANTED IN PART and DENIED IN PART

as set forth above.

       Dated this 22nd day of November, 2021.



                                               ________________________________________
                                               E. RICHARD WEBBER
                                               SENIOR UNITED STATES DISTRICT JUDGE




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